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                     Responses Received:

                              •     Verified Objection of Bexar County Appraisal District to Debtors’
                                    (I) Omnibus Objection to Certain Tax Claims and (II) Motion to
                                    Determine Tax Liability and Stay Proceedings, and Reservation of
                                    Rights [Docket No. 2432].

                              •     Response of Certain Texas Taxing Entities2 in Opposition to
                                    Debtors’ (I) Omnibus Objection to Certain Tax Claims and (II)
                                    Motion to Determine Tax Liability and Stay Proceedings; and
                                    Request for Abstention [Docket No. 2483].

                              •     Texas Taxing Authorities’3 (I) Response to Omnibus Objection to
                                    Certain Tax Claims and Objection to Motion to Determine Tax
                                    Liability and Stay Proceedings; and (II) Request for Abstention
                                    [Docket No. 2492].

                              •     Objection of (1) Bowie Central Appraisal District; (2) The County
                                    of Brazos, Texas; (3) The County of Denton, Texas; (4) The
                                    County of Guadalupe, Texas; (5) The County of Hays, Texas; (6)
                                    McLennan Central Appraisal District; (7) Midland Central
                                    Appraisal District; (8) Central Appraisal District of Taylor County;
                                    (9) City of Waco and Waco Independent School District; (10) The
                                    County of Williamson, Texas to Debtors’ (I) Omnibus Objection to
                                    Certain Tax Claims and (II) Motion to Determine Tax Liability and
                                    Stay Proceedings and Request For Abstention [Docket No. 2497].

                              •     San Luis Obispo County Treasurer-Tax Collector’s Response to
                                    Debtor’s Second Omnibus Objection to Certain Tax Claims and
                                    Opposition to Motion to Determine Tax Liability and Stay
                                    Proceedings [Docket No. 2503].

 2    For purposes of the Response, Certain Texas Taxing Entities are defined as the following: Brazoria County,
      Brazoria County Special Road & Bridge, Alvin Independent School District, Alvin Community College,
      Brazoria County Drainage District #4, and Pearland Municipal Management, Brazoria Municipal Utility District
      #06, Pasadena Independent School District, Spring Branch Independent School District, City of Houston, Clear
      Creek Independent School District, Humble Independent School District, Lubbock Central Appraisal District as
      collector for the City of Lubbock, Lubbock County, Lubbock County Hospital District, High Plains Water
      District and Frenship Independent School District, Midland County, Crowley Independent School District, City
      of Lake Worth, Grapevine-Colleyville Independent School District, Frisco Independent School District, Plano
      Independent School District.
 3    For purposes of the Response and Objection, the Texas Taxing Authorities are defined as the following Texas
      ad valorem tax entities represented by the Linebarger Goggan Blair & Sampson, LLP law firm: Bexar County,
      Cameron County, Cypress-Fairbanks Independent School District, Dallas County, City of El Paso, Fort Bend
      County WCID #02, Fort Bend County, City of Frisco, Grayson County, Gregg County, Harris County, Hidalgo
      County, Jefferson County, Lewisville Independent School District, City of McAllen, McLennan County, City of
      Mesquite, Montgomery County, Nueces County, Parker CAD (for the collection of taxes only), Rockwall CAD
      (for the collection of taxes only), San Marcos CISD, Smith County, Tarrant County, Tom Green CAD (for the
      collection of taxes only) and Victoria County.



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                     Related Documents:

                              •    Determination of Adjournment Request [Docket No. 2529].

                              •    Certification of Counsel Regarding Debtors’ (I) Omnibus
                                   Objection to Certain Tax Claims and (II) Motion to Determine Tax
                                   Liability and Stay Proceedings with Respect to Certain Claims re
                                   Docket No. 2156 [Docket No. 2761].

                              •    Certification of Counsel Regarding Debtors’ (I) Omnibus
                                   Objection to Certain Tax Claims and (II) Motion to Determine Tax
                                   Liability and Stay Proceedings with Respect to Certain Claims re
                                   Docket No. 2156 [Docket No. 2765].

                              •    Amended Certification of Counsel Regarding Debtors’ (I)
                                   Omnibus Objection to Certain Tax Claims and (II) Motion to
                                   Determine Tax Liability and Stay Proceedings with Respect to
                                   Certain Claims re Docket No. 2156 [Docket No. 2767].

                              •    Determination of Adjournment Request [Docket No. 2771].

                              •    Order Granting Debtors’ (I) Omnibus Objection to Certain Tax
                                   Claims and (II) Motion to Determine Tax Liability and Stay
                                   Proceedings with Respect to Certain Claims [Docket No. 2782].

                              •    Order Granting Debtors’ (I) Omnibus Objection to Certain Tax
                                   Claims And (Ii) Motion To Determine Tax Liability And Stay
                                   Proceedings With Respect To Travis County [Docket No. 2786].

                              •    Determination of Adjournment Request [Docket No. 2897].

                              •    Determination of Adjournment Request [Docket No. 2921].

                              •    Determination of Adjournment Request [Docket Nos. 2972, 2973].

                     Status: This matter is adjourned to May 29, 2024, at 10:00 a.m. (ET). The parties
                     have consented to the adjournment and continue to negotiate a resolution. No
                     hearing is necessary at this time.

           2.        Debtors’ Motion to Determine Tax Liability and Stay Proceedings [Docket No.
                     2157].

                     Responses Received:

                              •    Opposition Response of the Taxing Districts Collected by Randall
                                   County to Debtors’ Motion to Determine Tax Liability and Stay
                                   Proceedings [Docket No. 2484].



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                              •    Objection of Tax Appraisal District of Bell County, Texas to
                                   Debtors’ Motion to Determine Tax Liability and Stay Proceedings
                                   and Request for Abstention [Docket No. 2487].

                     Related Documents:

                              •    Determination of Adjournment Request [Docket No. 2529].

                              •    Determination of Adjournment Request [Docket No. 2770].

                              •    Determination of Adjournment Request [Docket No. 2897].

                              •    Determination of Adjournment Request [Docket No. 2921].

                              •    Determination of Adjournment Request [Docket Nos. 2972, 2973].

                     Status: This matter is adjourned to May 29, 2024, at 10:00 a.m. (ET). The
                     parties have consented to the adjournment and continue to negotiate a resolution.
                     No hearing is necessary at this time.

           3.        Debtors’ (I) Second Omnibus Objection to Certain Tax Claims and (II) Motion to
                     Determine Tax Liability and Stay Proceedings [Docket No. 2180].

                     Responses Received:

                              •    Creditor Alameda County Tax Collector’s Opposition to Debtors’
                                   Motion to Determine Tax Liability and Stay Proceedings as to
                                   Certain California Taxing Authorities [Docket No. 2470].

                              •    Opposition of the Orange County Treasurer-Tax Collector to the
                                   Debtors’ (I) Second Omnibus Objection to Certain Tax Claims and
                                   (II) Motion to Determine Tax Liability and Stay Proceedings
                                   [Docket No. 2476].

                              •    San Mateo County Treasurer-Tax Collector’s Response to
                                   Debtors’ Second Omnibus Objection to Certain Tax Claims and
                                   Opposition to Motion to Determine Tax Liability and Stay
                                   Proceedings [Docket No. 2477].

                              •    San Diego County Treasurer-Tax Collector’s Response to Debtors’
                                   Second Omnibus Objection to Certain Tax Claims and Opposition
                                   to Motion to Determine Tax Liability and Stay Proceedings
                                   [Docket No. 2478].

                              •    Contra Costa County Treasurer-Tax Collector’s Response to
                                   Second Omnibus Objection to Certain Tax Claims and Opposition
                                   to Motion to Determine Tax Liability and Stay Proceedings
                                   [Docket No. 2479].


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                              •   Declaration of Peter Yu in Support of Creditor County of Contra
                                  Costa Treasurer Tax Collector’s Response to Debtor’s Second
                                  Omnibus Objection [Docket No. 2480].

                              •   Creditor San Bernardino County Tax Collector’s Response to
                                  Debtors’ Second Omnibus Objection to Certain Tax Claims and
                                  Opposition to Motion to Determine Tax Liability and Stay
                                  Proceedings [Docket No. 2481].

                              •   Kern County Treasurer-Tax Collector’s Response to Debtors’
                                  Second Omnibus Objection to Certain Tax Claims and Opposition
                                  to Motion to Determine Tax Liability and Stay Proceedings
                                  [Docket No. 2482].

                              •   Response of Creditor Sonoma County Tax Collector to Debtors’
                                  Second Omnibus Objection to Certain Tax Claims and Opposition
                                  to Motion to Determine Tax Liability and Stay Proceedings as to
                                  Certain California Taxing Authorities [Docket No. 2504].

                              •   Creditor Sacramento County Tax Collector’s Response to Debtors’
                                  Second Omnibus Objection to Certain Tax Claims and Opposition
                                  to Motion to Determine Tax Liability and Stay Proceedings
                                  [Docket No. 2512].

                              •   Placer County California’s Response to Debtors’ (I) Second
                                  Omnibus Objection to Certain Tax Claims and (II) Motion to
                                  Determine Tax Liability and Stay Proceedings [Docket No. 2673].

                     Related Documents:

                              •   Letter to the Court from John S. Mairo, Counsel to County of
                                  Santa Clara, the County of Los Angeles, the County of Fresno and
                                  the County of Riverside [Docket No. 2536].

                              •   Determination of Adjournment Request [Docket No. 2529].

                              •   Certification of Counsel Regarding Debtors’ (I) Second Omnibus
                                  Objection to Certain Tax Claims and (II) Motion to Determine Tax
                                  Liability and Stay Proceedings with Respect to Certain Claims re
                                  Docket No. 2180 [Docket No. 2766].

                              •   Determination of Adjournment Request [Docket No. 2771].

                              •   Order Granting Debtors’ (I) Second Omnibus Objection to Certain
                                  Tax Claims and (II) Motion to Determine Tax Liability and Stay
                                  Proceedings with Respect to Certain Claims [Docket No. 2784].



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                              •    Determination of Adjournment Request [Docket No. 2897].

                              •    Notice of Withdrawal of Debtors’ (I) Second Omnibus Objection
                                   to Certain Tax Claims and (II) Motion to Determine Tax Liability
                                   and Stay Proceedings as it Relates to San Mateo County Treasurer-
                                   Tax Collector [Docket No. 2917].

                              •    Determination of Adjournment Request [Docket No. 2921].

                              •    Determination of Adjournment Request [Docket Nos. 2972, 2973].

                     Status: This matter is adjourned to May 29, 2024, at 10:00 a.m. (ET). The parties
                     have consented to the adjournment and continue to negotiate a resolution. No
                     hearing is necessary at this time.

           4.        Debtors’ Motion to Determine Tax Liability and Stay Proceedings as to Certain
                     California Taxing Authorities [Docket No. 2181].

                     Responses Received:

                              •    Response of Ventura County Tax Collector to Bed Bath & Beyond
                                   Inc.’s Motion to Determine Tax Liability and Stay Proceedings as
                                   to Certain California Taxing Authorities [Docket No. 2469].

                              •    Opposition of the Orange County Treasurer-Tax Collector to the
                                   Debtors’ (I) Second Omnibus Objection to Certain Tax Claims and
                                   (II) Motion to Determine Tax Liability and Stay Proceedings
                                   [Docket No. 2476].

                              •    San Mateo County Treasurer-Tax Collector’s Response to
                                   Debtors’ Second Omnibus Objection to Certain Tax Claims and
                                   Opposition to Motion to Determine Tax Liability and Stay
                                   Proceedings [Docket No. 2477].

                              •    San Diego County Treasurer-Tax Collector’s Response to Debtors’
                                   Second Omnibus Objection to Certain Tax Claims and Opposition
                                   to Motion to Determine Tax Liability and Stay Proceedings
                                   [Docket No. 2478].

                              •    Contra Costa County Treasurer-Tax Collector’s Response to
                                   Second Omnibus Objection to Certain Tax Claims and Opposition
                                   to Motion to Determine Tax Liability and Stay Proceedings
                                   [Docket No. 2479].

                              •    Declaration of Peter Yu in Support of Creditor County of Contra
                                   Costa Treasurer Tax Collector’s Response to Debtor’s Second
                                   Omnibus Objection [Docket No. 2480].



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                              •   Creditor San Bernardino County Tax Collector’s Response to
                                  Debtors’ Second Omnibus Objection to Certain Tax Claims and
                                  Opposition to Motion to Determine Tax Liability and Stay
                                  Proceedings [Docket No. 2481].

                              •   Kern County Treasurer-Tax Collector’s Response to Debtors’
                                  Second Omnibus Objection to Certain Tax Claims and Opposition
                                  to Motion to Determine Tax Liability and Stay Proceedings
                                  [Docket No. 2482].

                              •   Objection of County of Santa Clara, County of Los Angeles,
                                  County of Fresno and County of Riverside to Debtors’ Motion to
                                  Determine Tax Liability and Stay Proceedings as to Certain
                                  California Taxing Authorities [Docket No. 2491].

                              •   Declaration of John Sleeman in Support of Objection of County of
                                  Santa Clara, County of Los Angeles, County of Fresno and County
                                  of Riverside to Debtors Motion to Determine Tax Liability and
                                  Stay Proceedings as to Certain California Taxing Authorities
                                  [Docket No. 2493].

                              •   Declaration of Calvin C. Chen in Support of Objection of County
                                  of Santa Clara, County of Los Angeles, County of Fresno and
                                  County of Riverside to Debtors Motion to Determine Tax Liability
                                  and Stay Proceedings as to Certain California Taxing Authorities
                                  [Docket No. 2494].

                              •   Declaration of Belinda Landig in Support of Objection of County
                                  of Santa Clara, County of Los Angeles, County of Fresno and
                                  County of Riverside to Debtors Motion to Determine Tax Liability
                                  and Stay Proceedings as to Certain California Taxing Authorities
                                  [Docket No. 2495].

                              •   Declaration of Jennifer Fruge in Support of Objection of County of
                                  Santa Clara, County of Los Angeles, County of Fresno and County
                                  of Riverside to Debtors Motion to Determine Tax Liability and
                                  Stay Proceedings as to Certain California Taxing Authorities
                                  [Docket No. 2496].

                              •   Declaration of Jennifer Lemley in Support of Objection of County
                                  of Santa Clara, County of Los Angeles, County of Fresno and
                                  County of Riverside to Debtors Motion to Determine Tax Liability
                                  and Stay Proceedings as to Certain California Taxing Authorities
                                  [Docket No. 2498].




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                              •    Response of Creditor Sonoma County Tax Collector to Debtors’
                                   Second Omnibus Objection to Certain Tax Claims and Opposition
                                   to Motion to Determine Tax Liability and Stay Proceedings as to
                                   Certain California Taxing Authorities [Docket No. 2504].

                              •    Santa Cruz County Treasurer-Tax Collector’s Response to
                                   Debtors’ Motion to Determine Tax Liability and Stay Proceedings
                                   as to Certain California Taxing Authorities [Docket No. 2505].

                              •    Opposition of Solano County Tax Collector to Bed Bath & Beyond
                                   Inc.’s Motion to Determine Tax Liability and Stay Proceedings as
                                   to Certain California Taxing Authorities [Docket No. 2676].

                     Related Documents:

                              •    Determination of Adjournment Request [Docket No. 2529].

                              •    Determination of Adjournment Request [Docket No. 2770].

                              •    Determination of Adjournment Request [Docket No. 2897].

                              •    Notice of Withdrawal of Debtors’ Motion to Determine Tax
                                   Liability and Stay Proceedings as to Certain California Taxing
                                   Authorities [Docket No. 2911].

                              •    Determination of Adjournment Request [Docket No. 2921].

                              •    Determination of Adjournment Request [Docket Nos. 2972, 2973].

                     Status: This matter is adjourned to May 29, 2024, at 10:00 a.m. (ET). The parties
                     have consented to the adjournment and continue to negotiate a resolution. No
                     hearing is necessary at this time.

           5.        Joint Motion of Texas Taxing Authorities to Compel Payment of Remaining
                     Amounts Due on Year 2022 Ad Valorem Business Personal Property Taxes
                     [Docket No. 2664].

                     Responses Received:

                     Related Documents:

                              •    Notice of Hearing [Docket No. 2712].

                              •    Notice of Hearing [Docket No. 2715].

                              •    Determination of Adjournment Request [Docket No. 2770].

                              •    Determination of Adjournment Request [Docket No. 2897].


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                              •    Determination of Adjournment Request [Docket No. 2921].

                              •    Determination of Adjournment Request [Docket Nos. 2972, 2973].

                     Status: This matter is adjourned to May 29, 2024, at 10:00 a.m. (ET). The parties
                     have consented to the adjournment and continue to negotiate a resolution. No
                     hearing is necessary at this time.


 Dated: April 15, 2024                            /s/ Colin R. Robinson
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                                                  Paul J. Labov, Esq.
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